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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

  BRYAN TRAHAN, Individually and For                    Case No. 4:23-cv-00734
  Others Similarly Situated,
                                                        Jury Trial Demanded
  v.
                                                        FLSA Collective Action
  SOUTHWESTERN ENERGY                                   Pursuant to 29 U.S.C. § 216(b)
  CORPORATION,


                    TRAHAN’S UNOPPOSED MOTION TO STAY CASE

        Plaintiff Bryan Trahan (Trahan) moves to stay this case and all pending deadlines until the

conclusion of the arbitration of Trahan’s claims against Defendant Southwestern Energy Corporation

(Southwestern). The Parties further agree that a stipulation of dismissal will be filed no more than

fourteen days after the conclusion of arbitration, or alternatively a settlement is reached.

Date: June 27, 2023

                                                               Respectfully submitted,

                                                               /s/Carl A. Fitz
                                                               Michael A. Josephson
                                                               Texas Bar No. 24014780
                                                               Andrew W. Dunlap
                                                               Texas Bar No. 24078444
                                                               Carl A. Fitz
                                                               Texas Bar No. 24105863
                                                               JOSEPHSON DUNLAP, LLP
                                                               11 Greenway Plaza, Suite 3050
                                                               Houston, Texas 77046
                                                               713-352-1100 – Telephone
                                                               713-352-3300 – Facsimile
                                                               mjosephson@mybackwages.com
                                                               adunlap@mybackwages.com
                                                               cfitz@mybackwages.com

                                                               AND

                                                               Richard J. (Rex) Burch
                                                               Texas Bar No. 24001807

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                                                              BRUCKNER BURCH PLLC
                                                              11 Greenway Plaza, Suite 3025
                                                              Houston, Texas 77046
                                                              Telephone: (713) 877-8788
                                                              Telecopier: (713) 877-8065
                                                              rburch@brucknerburch.com

                                                              Attorneys for Plaintiffs


                                     CERTIFICATE OF SERVICE

        On June 27, 2023, I served a copy of this document on all registered parties and/or their
counsel of record via the Court’s CM/ECF system.

                                                        /s/Carl A. Fitz
                                                        Carl A. Fitz




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